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 6
 7
                               UNITED STATES DISTRICT COURT
 8
                              EASTERN DISTRICT OF CALIFORNIA
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10
     PEOPLE OF THE STATE OF                )   CASE NO. 06-CR-0126-AWI
11 CALIFORNIA ,                            )
                                           )   ORDER FOR
12                       Plaintiff,        )   STIPULATION TO CONTINUE
                                           )   SENTENCING HEARING;
13                v.                       )
                                           )   Current Date: June 29, 2007
14 LEONEL DUARTE ANDAYA,                   )   Current Time: 9:00 a.m.
                                           )
15                       Defendant.        )   Proposed Date: July 27, 2007
                                           )   Proposed Time: 9:00 a.m.
16                                         )
17                                    PROPOSED ORDER
18
19            The sentencing hearing in this matter is hereby ordered to be
20 continued to July 27, 2007 at 9:00am.           Good cause exists for the
21 continuance as set forth in the stipulation.
22
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24
     IT IS SO ORDERED.
25
     Dated:    May 31, 2007                  /s/ Lawrence J. O'Neill
26 b9ed48                                UNITED STATES DISTRICT JUDGE
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